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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 CHRISTOPHER KAPS,                              )
                                                )
        Plaintiff,                              )
                                                )
        vs.                                     )       Cause No. 1:18-cv-1832 SEB-MPB
                                                )
 TJ BRAY, AMY MARTINEZ,                         )
 TIM LEATH, MIKE STEVENS                        )
 CARRIER CORPORATION, and DOES                  )
 ONE THROUGH FIVE                               )
       Defendants.                              )

              PLAINTIFF’S NOTICE OF SERVICE OF INITIAL DISCLOSURES

        On January 28, 2019, Plaintiff Christopher Kaps, by counsel, served his initial disclosures

 pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure on all parties to this matter:

                                                        Respectfully submitted,

                                                        /s/John Robert Panico
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                                                        Attorney for Plaintiff Christopher Kaps

                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 28th day of January 2019, a copy of the foregoing was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
 to counsel of record. Parties may access this filing through the Court’s system

                                                        ss://John Robert Panico



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